[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION
The sole issue before the Court is whether the defendant can recover the fee of a professional witness who testified in a malpractice case which the defendant won. Under normal circumstances this is no issue. However, in this case the defendant did not file a bill of costs until after fourteen months and perhaps more than two years after completion of the trial.
It is necessary to relate some of the problems this Court found in this matter.
This matter was placed on the short calendar and since there was a trial the Court referred it to the trial judge (Fuller) who upon receiving the file sent it back with the declaration that the trial was held over two years prior and he did not have any of his trial notes and requested that the Court order a transcript. This had already been explored and no questions were asked of the witness as to what his charge was for his testimony, time and preparation for such testimony.
With the realization that there would be no further factual information forthcoming, the Court ordered the parties to submit briefs on the issue. Briefs were submitted and they did not provide any easy answer to the question.
The Court's own research into the issue found there was no time limit placed upon the filing of a bill of costs. Practice Book 412 sets forth the procedure by which a party may obtain costs; however, there was no mention of timeliness with which the party must act. It is not practicable to hold CT Page 10652 that a party may file a bill of cost any time after the verdict. There must be some guideline to follow, and it appears that the guideline is a reasonable time after the verdict or the completion of all proceedings. Such a decision can be made by the Court on an ad hoc basis.
In this case, the trial was completed on June 22, 1990. The first alleged bill of cost was filed in August, 1991. The bill of cost in the file is dated January, 1992. The plaintiff makes a claim that the bill of cost was filed in August, 1991 which is still fourteen months after the trial.
Even if the Court was to accept the premise a bill of cost was filed in August, 1991, that would still not be within a reasonable time in the Court's opinion.
Having come to the conclusion that a bill of cost must be filed within a reasonable time and, further, that fourteen months is not a reasonable time period, the Court concludes that the defendant cannot collect on the bill of cost. The objection to cost is sustained.
McGrath, J.